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 Information to identify the case:
 Debtor 1              Ho Wan Kwok                                                          Social Security number or ITIN          xxx−xx−9595
                       First Name   Middle Name    Last Name                                EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                   Social Security number or ITIN _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)
                                                                                            EIN     _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court               District of Connecticut
                                                                                            Date case filed for chapter 11 2/15/22
 Case number:          22−50073 jam

Official Form 309E1 (For Individuals or Joint Debtors)
                                                                                                                                              10/1/20
Notice of Chapter 11 Bankruptcy Case
For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a
discharge of any debts or who want to have a particular debt excepted from discharge may be required to file a complaint in the
bankruptcy clerk's office within the deadlines specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.


                                               About Debtor 1:                                          About Debtor 2:
 1. Debtor's full name                         Ho Wan Kwok

 2. All other names used in the
    last 8 years

                                               Golden Spring (New York) Ltd.
 3. Address                                    162 East 64th Street
                                               New York, NY 10065

 4. Debtor's attorney                           Dylan Kletter                                           Contact phone 860−509−6500
      Name and address                          Brown Rudnick LLP
                                                185 Asylum Street                                       Email dkletter@brownrudnick.com
                                                Hartford, CT 06103

 5. Bankruptcy clerk's office                                                                           Hours open:
      Documents in this case may be filed                                                               9:00 a.m. − 4:00 p.m. Monday − Friday
      at this address.                          915 Lafayette Blvd
      You may inspect all records filed in      Bridgeport, CT 06604                                    Contact phone 203−579−5808
      this case at this office or online at
      https://pacer.uscourts.gov.                                                                       Date: 2/17/22

                                                                                                      For more information, see page 2 >




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Debtor Ho Wan Kwok                                                                                                                    Case number 22−50073

 6. Meeting of creditors                     March 21, 2022 at 10:00 AM                                       Location:
     Debtors must attend the meeting to                                                                       DUE TO COVID−19 THE
     be questioned under oath. In a joint                                                                     MEETING OF CREDITORS
                                             Conference Line: 877−915−2934
     case, both spouses must attend.                                                                          WILL BE HELD
     Creditors may attend, but are not                                                                        TELEPHONICALLY
     required to do so.                      Participant Code: 8494974

 7. Deadlines                                File by the deadline to object to discharge or                    First date set for hearing on confirmation of plan.
    The bankruptcy clerk's office must       to challenge whether certain debts are                            The court will send you a notice of that date
    receive these documents and any                                                                            later.
    required filing fee by the following     dischargeable:
    deadlines.
                                             You must file a complaint:                                         Filing deadline for dischargeability
                                             • if you assert that the debtor is not entitled to                complaints: May 20, 2022
                                               receive a discharge of any debts under
                                               11 U.S.C. § 1141(d)(3) or
                                             • if you want to have a debt excepted from discharge
                                               under 11 U.S.C § 523(a)(2), (4), or (6).


                                             Deadline for filing proof of claim:                            Not yet set. If a deadline is set, the court will
                                                                                                            send you another notice.
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                             www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.

                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must
                                             file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You
                                             may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                             of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


                                             Deadline to object to exemptions:                                 Filing Deadline:
                                             The law permits debtors to keep certain property as               30 days after the conclusion of the meeting of
                                             exempt. If you believe that the law does not authorize an         creditors
                                             exemption claimed, you may file an objection.

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                             is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                             business.

                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                             See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                             all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                             from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                      should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                             and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                             entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                             the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                             send you another notice telling you of that date.

                                             The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                             distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                         as exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                             you believe that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                             The bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.




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